941 F.2d 1206
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John C. HOLLAND, Petitioner-Appellant,v.STATE OF SOUTH CAROLINA, Respondent-Appellee.
    No. 90-7182.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 13, 1991.Decided Aug. 19, 1991.
    
      Appeal from the United States District Court for the District of South Carolina, at Columbia.   G. Ross Anderson, Jr., District Judge.  (CA-90-646-3B)
      John C. Holland, appellant pro se.
      Donald John Zelenka, Chief Deputy Attorney General, Columbia, S.C., for appellee.
      D.S.C.
      DISMISSED.
      Before WIDENER, SPROUSE and WILKINS, Circuit Judges.
      OPINION
      PER CURIAM:
    
    
      1
      John C. Holland seeks to appeal the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254.   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.   Holland v. South Carolina, CA-90-646-3B (D.S.C. Nov. 9, 1990).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    